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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,               )
                                        )
                Plaintiff,              )       ORDER GRANTING MOTION TO AMEND
                                        )       CONDITIONS OF RELEASE FROM
        vs.                             )       CUSTODY
                                        )
Keyli Rose Lafountain,                  )       Case No. 1:21-cr-176
                                        )
                Defendant.              )


        On March 22, 2023, court issued an order conditionally releasing Defendant on March 24,

2023, to an inpatient treatment program at the Sunrise Native Recovery Center (“Sunrise”) in

Scottsdale, Arizona. (Doc. No. 241). On May 4, 2023, Defendant filed a Motion to Amend

Conditions of Release from Custody. (Doc. No. 258). She requests that she be permitted to

transition to and complete treatment at the Prizm Recovery Center (“Prizm”) in Phoenix, Arizona,

as Sunrise is closing its facilities due to a loss of funding.

        The court GRANTS Defendant’s motion (Doc. No. 258). The court modifies Defendant’s

release conditions to allow her to transition to Prizm. Defendant shall reside at Prizm, fully

participate in its programming, and comply with all of its rules and regulations. Defendant remains

subject to all of the other conditions of release previously imposed by the court.

        IT IS SO ORDERED.

        Dated this 5th day of May, 2023.

                                                        /s/ Clare R. Hochhalter
                                                        Clare R. Hochhalter, Magistrate Judge
                                                        United States District Court
